(Rev. 01/211 Complaint for Violation ofCivil Rights fPrisoner)




                                        United States District Court
                                                                        for the


                                                  Western District of New York
               - ilf
c/o /33^ Jme/^30i9
                                                                                  Case No.
^oches^t./'^ t^eu)^crjk. [/Y^92']                                                             (to befiled in by the Clerk's Office)

                            Plaintijf(s)
(Write thefull name ofeach plaintiffwho isfiling this complaint.
Ifthe names ofall the plaintiffs cannotft in the space above,
please write "see attached" in the space and attach an additional
page with thefill list ofnames.)
                                                                                        .JURY TRIAL; Yes           No
*ZV?i? ^Lttf/y                                        y iVtu?
      CotAfo/y

                           Defendant(s)                                                                          JAN 2 1 2025
(H^rite thefill name ofeach defendant who is being sued. Ifthe
names ofall the defendants cannotft in the space above, please
write "see attached" in the space and attach an additional page
with thefill list ofnames. Do not include addresses here.)




                                  COMPLAINT FOR VIOLATION OF CIVIL RIGHTS
                                                                 (Prisoner Complaint)


                                                                       NOTICE


    Federal Rules of Civil Procedure 5.2 addresses the privacy and security concerns resulting from public access to
    electronic court files. Under this rule, papers filed with the court should not contain: an individual's full social
    security number or full birth date; the full name of a person known to be a minor; or a complete financial account
    number, A filing may include only, the last four digits of a social security number; the year of an individual's
    birth; a minor's initials; and the last four digits of a financial account number.

    Except as noted in this form, plaintiff need not send exhibits, affidavits, grievance or witness statements, or any
    other materials to the Clerk's Office with this complaint.

    In order for your complaint to be filed, it must be accompanied by the filing fee or an application to proceed in
    forma pauperis.




                                                                                                                                      I of 11
(Rev. 01/211 Complaint for Violation of Civil Rights (Prisoner)



           The Parties to This Complaint

           A.         The PIaintiff(s)


                      Provide the information below for each plaintiff named in the complaint. Attach additional pages if
                      needed.

                            Name                                                   f/; ■'.5^^
                            All other names by which
                            you have been known:
                            ID Number

                            Current Institution
                            Address


                                                                            City                Stale
                                                                                                             £m?Al
                                                                                                              Zip Co<!e

           B.         The Defendant(s)

                      Provide the information below for each defendant named in the complaint, whether the defendant is an
                      individual, a government agency, an organization, or a corporation. Make sure that the defendant(s)
                      listed below are identical to those contained in the above caption. For an individual defendant, include
                      the person's job or title (if known) and check whether you are bringing this complaint against them in their
                      individual capacity or official capacity, or both. Attach additional pages if needed.

                      Defendant No. 1

                            Name

                            Job or Title (ifknown)                                                          Z'oun^
                            Shield Number
                                                                   r>iSB     3as\
                            Employer
                            Address

                                                       -rfffJ* PooMskr      City
                                                                                              /YY_
                                                                                                Slate
                                                                                                              /^/,/Y
                                                                                                                  Zip Code
                                                        t kH^
                                                                      Individual capacity [3'6fficial capacity

                      Defendant No. 2

                            Name                                      Pennt/h InltbiZ j DM. tZfifrZfd
                            Job or Title (ifknown)                   JS»ffilaVJfKr. C'^ f^C/t/toe t^BUr/TY
                            Shield Number
                            Employer                                                                                         d/        /I
                            Address

                                                                     pYide.sJ-^r
                                                                            City                                 Zip Code

                                                                  I I Individual capacity Qtifficial capacity


                                                                                                                        Page 2 of 11
(Rev. 01/21)Complaint for Violation of Civil Rights (Prisonerl


                      Defendant No.3

                            Name                                         OFncefi
                            Job or Title (ifknown)                     O&ptAi^ of~ TAf                                                  0^.
                            Shield Number
                                                                        mso
                            Employer                                   Fjfuvj-Jy o-f               / Thfi P/aJf /)/" AJ-etiJ
                            Address                                    /?0 P/Ymi>u4h Pue.
                                                                    ^ochf^sk/'                  AJ/                  bli
                                                                               City                                  Zip Code

                                                                   I j Individual capacity |V\ Official capacity

                      Defendant No.4
                            Name                                    Ibfi '/inn ■' Fo^'clhc^in ~
                            Job or Title (ifknown)                      Pui>lil fdohry
                            Shield Number
                            Employer                                  jhe S'Me 0^ aJ<i^ UerL
                            Address                                ..^^531      /F.eckp-f'ik./' '^C'
                                                                       PhelpS               Ml       ^¥532
                                                                           City              State   ' Zip Code

                                                                   □ Individual capacity    | V'fOfficial capacity
n.         Basis for Jurisdiction


           Under 42 U.S.C. § 1983, you may sue state or local officials for the "deprivation of any rights, privileges, or
           immunities secured by the Constitution and [federal laws]." Under Bivens v. Six Unknown Named Agents of
           Federal Bureau of Narcotics, 403 U.S. 388 (1971)^ you may sue federal officials for the violation of certain
           constitutional rights.

           A.         Are you bringing suit against (check all that apply)'.

                      I I Federal officials (a Bivens claim)
                      r^T^tate or local officials (a § 1983 claim)
           B.         Section 1983 allows claims alleging the "deprivation of any rights, privileges, or immunities secured by
                      the Constitution and [federal laws]." 42 U.S.C. § 1983. If you are suing under section 1983, what
                      federal constitutional or statutory right(s) do you claim is/are being violated by state or local officials?




                        // UlC                                   l¥J           9^/^    /)TT/}ru£n             erne FfLM
           c.         Plaintiffs suing under Bivens may only recover for the violation of certain constitutional rights. If you
                      are suing under Bivens, what constitutional right(s) do you claim is/are being violated by federal
                      officials?


                      /<f          use                           2¥3
                                                                                                                                of 11
(Rev. 01/211 Complaint for Violation of Civil Rights (Prisonerl




           D.         Section 1983 allows defendants to be found liable only when they have acted "under color ofany
                      statute, ordinance, regulation, custom, or usage, of any State or Territory or the District of Columbia."
                      42 U.S.C. § 1983. If you are suing under section 1983, explain how each defendant acted under color
                      of state or local law. If you are suing under Bivem, explain how each defendant acted under color of
                      federal law. Attach additional pages if needed.

                        -/h<i
                                           1^1/k                  !/ use P-// ^ PVP
                                                            Or                                                      .

m.         Prisoner Status


           Indicate whether you are a prisoner or other confined person as follows (check all that apply):
           □           Pretriai detainee
           I I         Civilly committed detainee
           I I         Immigration detainee
           I I         Convicted and sentenced state prisoner
           □           Convicted and sentenced federal prisoner
                       Other (explain)

IV.       Statement of Claim


          State as briefly as possible the facts of your case. Describe how each defendant was personally involved in the
          alleged wrongful action, along with the dates and locations of all relevant events. You may wish to include
          further details such as the names of other persons involved in the events giving rise to your claims. Do not cite
          any cases or statutes. If more than one claim is asserted, number each claim and write a short and plain
          statement of each claim in a separate paragraph. Attach additional pages if needed.

          A.           If the events giving rise to your claim arose outside an institution, describe where and when they arose.


                             jtnO Pa/ltJ/Aint.                             j                     /Uy
          B.           If the events giving rise to your claim arose in an institution, describe where and when they arose.

                            (U            Vil/D/I                           ^ /rjrMlJt'r /IJ/

                                                                                                                                       C'-'.-V

                                                                                                                        Page 4 of 11
CRev. 01/21)Complaint for Violation of Civil Rights ("Prisoner")




         C.           What date and approximate time did the events giving rise to your claim(s)occur?

                                                                   ! U/M/pf -Hif lor// fioas
         D.           What are the facts underlying your claim(s)?(For example: What happened to you? Who did what?
                      Was anyone else involved? Who else saw what happened?)


                       ■ T" UMl f^a/s/y                                                          p/,(/a,y7er/.


V.       Injuries

         If you sustained injuries related to the events alleged above, describe your injuries and state what medical
         treatment, if any, you required and did or did not receive.

                                                '           //?                            Ay?if/
                   —                        5 hJfrii iki


VI.      Relief

         State briefly what you want the court to do for you. Make no legal arguments. Do not cite any cases or statutes.
         If requesting money damages, include the amounts of any actual damages and/or punitive damages claimed for
         the acts alleged. Explain the basis for these claims.

                     Ld/A                              /rjy' M            TnUu/f^-Z/'dr?
                   ——tdsM.                            &iJL—                           ^ g/
                       9-kks ■




                                                                                                                  Page 5 of 11
(Rev. Ql/2n Complaint for Violation oFCivil Rights (Prisoner')




VII.      Exhaustion of Administrative Remedies Administrative Procedures


         The Prison Litigation Reform Act("PLRA"),42 U.S.C. § 1997e(a), requires that "[n]o action shall be brought
         with respect to prison conditions under section 1983 ofthis title, or any other Federal law, by a prisoner confined
         in any jail, prison, or other correctional facility until such administrative remedies as are available are
          exhausted."

          Administrative remedies are also known as grievance procedures. Your case may be dismissed if you have not
          exhausted your administrative remedies.

          A.          Did your claim(s) arise while you were confined in a jail, prison, or other correctional facility?

                     D Yes                                       an       d^se       fih
                      □ No
                      If yes, name the jail, prison, or other correctional facility where you were confined at the time of the
                      events giving rise to your claim(s).




          B.          Does the jail, prison, or other correctional facility where your claim(s) arose have a grievance
                      procedure?

                      □ Yes                                                            P.
                      □ No
                      □ Do not know

          C.          Does the grievance procedure at the jail, prison, or other correctional facility where your claim(s) arose
                      cover some or all of your claims?

                      I I Yes
                                                                             CC(5( IH-C
                      □ No                            r
                      □ Do not know
                      If yes, which claim(s)?




                                                                                                                           Page 6 of 11
(Rev. 01/211 Complaint for Violation of Civil Rights (Prisoner")




          D.          Did you file a grievance in the jail, prison, or other correctional facility where your claim(s)arose
                      concerning the facts relating to this complaint?



                       I    I No
                      If no, did you file a grievance about the events described in this complaint at any other jail, prison, or
                      other correctional facility?




                       □ No

          E.          If you did file a grievance:

                       1.    Where did you fi le the grievance?

                                                                   TptASin ifuiri j /ylfffine. toMily
                      2.     What did you claim in your grievance?



                                        n use 3-Hi
                                                                    Op 7^5 A
                      3.     What was the result, if any?




                                                                         iajTW                                       '      <
                      4.     Whavsteps, if any, did you take to appeal that decision? Is the grievance process completed? If
                             not, explain why not. (Describe all efforts to appeal to the highest level of the grievance process.)




                                                                                                                           Page 7 of 11
fllev. 01/2 n Complaint for Violation ofCivil Riahls (Prisoner)



         F.          If you did not file a grievance;

                      1. Ifthere are any reasons "why you did not file a grievance, state them here:




                     2. If you did not file a grievance but you did inform officials of your claim, state who you informed,
                        when and how, and their response, if any:



                                     jm_
         G.          Please set forth any additional information that is relevant to the exhaustion of your administrative
                     remedies.




                     (Note: You may attach as exhibits to this complaint any documents related to the exhaustion ofyour
                     administrative remedies.)

VIII. Previous Lawsuits

         The "three strikes rule" bars a prisoner from bringing a civil action or an appeal in federal court without paying
         the filing fee ifthat prisoner has "on three or more prior occasions, while incarcerated or detained in any facility,
         brought an action or appeal in a court ofthe United States that was dismissed on the grounds that it is frivolous,
         malicious, or fails to state a claim upon which relief may be granted, unless the prisoner is under imminent
         danger of serious physical injury." 28 U.S.C. § 1915(g).

         To the best of your knowledge, have you had a case dismissed based on this "three strikes rule"?

         I I Yes
       ^ No
         If yes, state which court dismissed your case, when this occurred, and attach a copy of the order if possible.




                                                                                                                     Page 8 of 11
rRev. 01/21") Complaint for Violation ofCivil Riahts (Prisoner)



         A.           Have you filed other lawsuits in state or federal court dealing with the same facts involved in this
                      action?


                    [^Yes
                     □ No

         B.           If your answer to A is yes, describe each lawsuit by answering questions 1 through 7 below. (Ifthere is
                      more than one lawsuit, describe the additional lawsuits on another page, using the same format.)

                      1.    Parties to the previous lawsuit
                            Plaintiff(s)                          ^                       ^
                            Defendant(s)                              £li' :
                     2.     Court (iffederal court, name the district; if state court, name the county and State)

                                          ffhlrot Coun ty flt.'rl-
                     3.     Docket or index number

                                          i' nnibji'7~
                     4.     Name of Judge assigned to your case



                     5.     Approximate date of filing lawsuit



                     6. Is th^case still pending?
                           M Yes

                           □ No
                            If no, give the approximate date of disposition.

                     7.    What was the result of the case? (For example: Was the case dismissed? Was judgment entered
                           in your favor? Was the case appealed?)




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                              tinsinh                                                                                    5'L
(Rev. Ol/inComplaim for Violation of Civil Rights (Prisoner^

IX.      Certification and Closing

         Under Federal Rule of Civil Procedure 1 1, by signing below, I certiiy to the best of my knowledge, information,
         and belief that this complaint:(1)is not being presented for an improper purpose, such as to harass, cause
         unnecessaiy delay, or needlessly increase the cost of litigation;(2)is supported by existing law or by a
         nonfrivolous argument for extending, modifying, or reversing existing law;(3)the factual contentions have
         evidentiary support or, if specifically so identified, will likely have evidentiary support after a reasonable
         opportunity for further investigation or discovery; and(4)the complaint otherwise complies with the
         requirements of Rule 11.

         A.          For Parties Without an Attorney

                     I agree to provide the Clerk's Office with any changes to my address where case-related papers may be
                     served. I understand that my failure to keep a current address on file with the Clerk's Office may result
                     in the dismissal of my case.

                     Date of signing:

                                                   /

                     Signature of Plaintiff
                     Printed Name of Plaintiff
                                                                     £L'- /Lfit/y
                     Prison Identification #

                     Prison Address


                                                                       City


         B.          For Attorneys


                     Date of signing;


                     Signature of Attorney
                     Printed Name of Attorney
                     Bar Number

                    Name of Law Firm

                     Address


                                                                       City                State           Zip Code

                    Telephone Number
                    E-mail Address




                                                                                                                      Page 10 of 11
                                      Save As...               Add Attachment                                     Reset
'■■N
                                                                                 PERSONAL
                                                                              CONFIDENTIAL
                                               OFFICE OF THE CLERK


                       UNITED STATES DISTRICT COURT
                      WESTERN DISTRICT OF NEW YORK
                                                 Rochester Division

                                                 Case No. 25cv6037

                                                 Adam-Eli; Stauffer
                                                        Plaintiff,
                                                           V.

                                           The County of Monroe et al
                                                     Defendants.




    NOTICE OF CLAIM, MOTION FOR SUMMARY JUDGMENT,TEMPORARY RESTRAINING
    ORDER,INJUNCTION,AND PRAYER FOR RELIEF WITH FULL DISCLOSURE UNDER THE
                                                 COLOR OF LAW




I. PRELIMINARY STATEMENT




This case arises as a testament to faith,justice, and the unwavering belief in the inherent rights granted by our
Creator and protected under the Constitution of the United States. This honorable Court is called upon to affirm
these rights through its authority under the Full Faith and Credit Clause of the U.S. Constitution (Article IV,
Section I) and to safeguard justice against violations of the law perpetrated under the color of law as defined in
U.S.C. §§241 and 242.



Plaintiff Adam-Eli: Stauffer, seeks justice and restoration of his rights following a false arrest and deprivation of
parental rights, and demands transparency, accountability, and full disclosure of all actions taken by the
Defendants in this case.




This action invokes the Court's duty to ensure adherence to the principles of liberty, equality, and fairness, which
are the foundation of the United States and its laws.




H.JURISDICTION AND VENUE

This Court has jurisdiction pursuant to:



28 U.S.C. § 1331 (federal question jurisdiction);

28 U.S.C. § 1343 (civil rightsjurisdiction);
 18 U.S.C. § 241 (conspiracy to violate constitutional rights);
 18 U.S.C. § 242 (deprivation ofrights under color oflaw).

 Venue is proper under 28 U.S.C. § 1391(b) as the events giving rise to this claim occurred within the Western
 District of New York.




 The Court is further called to exercise its authority under the Full Faith and Credit Clause to ensure recognition of
 lawful documents, including the Certificate of Disposition under V.K CPL § 160.50 and other legal notices
 provided by the Plaintiff.



 III. PARTIES

 Plaintiff; Adam-Eli: Stauffer, a resident of Rochester, New York, is a devoted father, Minister of the Hip Hop
 Church of Christ, and founder of e2 Studios (www.e2studios.art). His work includes partnering with John Monroe
 High School to mentor and inspire students, fostering a community rooted in love and faith.



 Defendants: The County of Monroe and its agents, including law enforcement officials acting under the authority
 of Monroe County, are named in their official and individual capacities for their roles in the acts complained of
 herein.




 IV. FACTUAL BACKGROUND

 A. Violation of Plaintiff's Rights Under the Color of Law

  On November 10'"' 2023, Plaintiff was falsely arrested by Monroe County law enforcement officials without
 probable cause or lawful justification. This arrest was conducted under the color of law in violation of PlaintifTs
 constitutional rights.



 The Certificate of Disposition issued under N.Y. CPL § 160.50 conclusively demonstrates that the charges against
 Plaintiff were baseless, further affimiing the unlawful nature of the arrest.

 B. Deprivation of Parental Rights and Family Integrity

  Plaintiff's false arrest resulted in an unjust deprivation of his natural and constitutional rights as a parent. These
 actions disrupted his sacred relationship with his children, violating his rights under the Fourteenth Amendment
 and his God-given familial bonds.



 Defendants acted willfully and with reckless disregard for Plaintiff's rights, failing to provide full disclosure of
 their actions or any legitimate justification for their interference.

 C. Supporting Evidence and Full Faith and Credit




V XS.
.\\§-
Plaintiff submits the following evidence to support his claims and seeks recognition of these documents under the
Full Faith and Credit Clause:




Apostilled live birth certificates of PlaintifPs children, verifying his parental rights.
Certified mail receipts (PS 3811 green cards) and stamped notices confirming legal communications sent to
Defendants.

Body camera footage provided by the Monroe County District Attorney's Office, documenting the conduct of law
enforcement during the arrest.

A letter from Safety National Insurance Company(Claim Number GLIOI1355179), dated July 9, 2024,
acknowledging liability after receiving Plaintiff's final notice of default and estoppel.

These materials demonstrate the unjustifiable actions of the Defendants and underscore the necessity for
accountability, transparency, and restitution.

V. CLAIMS FOR RELIEF

COUNTI: VIOLATION OF CIVIL RIGHTS UNDER 42 US.C. § 1983

 Defendants acted under color of law to deprive Plaintiff of his Fourth Amendment rights against unlawful seizure
and his Fourteenth Amendment rights to due process and equal protection.



Their actions caused significant harm to Plaintiff, undermining his dignity and faith in the rule of law.
COUNTII: FALSE ARREST

 Plaintiff was arrested and detained without probable cause, constituting a violation of federal law and his
fundamental right to liberty.



The arrest was executed under the color of law and in contravention of established legal protections.

COUNTIII: CONSPIRACY TO VIOLATE RIGHTS UNDER 18 US.C. § 241

Defendants conspired to deprive Plaintiff of his constitutional rights, including his parental rights and personal
liberty.



This conspiracy reflects a willful disregard for the principles of fairness and Justice.

COUNTIV: DEPRIVATION OF RIGHTS UNDER COLOR OF LAW UNDER 18 US.C. §242

Defendants, acting under color of law, knowingly and maliciously deprived Plaintiff of his rights, causing
irreparable harm to his family and reputation.



VI. PRAYER FOR RELIEF
With faith, hope, and love, Plaintiff respectfully requests this honorable Court to grant the following relief:



A declaration that Defendants' actions violated Plaintiff's constitutional rights under the Fourtli and Fourteenth
Amendments.




An injunction requiring Defendants to restore Plaintiff's parental rights and refrain from further interference in his
family life.



Recognition of the submitted evidence under the Full Faith and Credit Clause, including the Certificate of
Disposition, live birth certificates, and legal communications.


Compensatory damages for emotional distress, reputational hann, and economic losses sustained by Plaintiff.


Punitive damages to deter future violations of constitutional rights and to reaffirm the values of love,
accountability, and justice.



Any additional relief that this Court deems just and proper in the spirit offairness and equity.


Respectfully Submitted,

Adam-Eli: Stauffer

do 1335 Jefferson Road #22667

Rochester, NY [14692]

Phone:585-478-4521
JS44 (Rev.08/18)
                                                                            CIVIL COVER SHEET
The JS 44 civil cover sheet and the information contained herein neither replace nor supplement the filing and service of pleadings or other papers as required by taw, except as
provided by local rules of court. This form, approved by the Judicial Conference of the United States in September 1974, is required for the use of the Clerk ofCourt for the
purpose of initiating the civil docket sheet. (SEE INSH'RUCTIONS ON NEXTPAGE OF THIS FORM.)
I. (a) PLAINTIFFS                                                                                                DEFENDANTS


                                        - tl, '                                                                      Comfy                         tylomrce e.-1-ol
    (b) County ofRcsidenceofFirst Listed Plaintiff                                                               County of Residence of First Listed Defendant
                                 (EXCEPTIN U.S. PLAINTIFF CASES)                                                                       (IN U.S. PIAINTIFFCASESONLY)
                                                                                                                 NOTE:      IN LAND CONDEMNATION CASES. USE THE LOCATION OF
                                                                                                                            THE TRACT OF LAND INVOLVED.


    (c) Attorneys(Firm Name, Address, and Telephone Number)                                                      Attorneys(ifKnown)




II. BASIS OF JURISDICTION(Placem "X"inOneBoxOnty)                                                  III. CITIZENSHIP OF PRINCIPAL PARTIES (Place an "X" in One Box for Plaintiff
                                                                                                            (For Diversity Cases Only)                                               and One Boxfor Defendant)
□ 1     U-S- Government               □ 3     Federal Question                                                                           PTF       DEF                                                PTF        DEF
          PiaiiitifT                             (U.S. Government Not a Party)                         Citizen of This State             □ I       0     1   Incorporated or Principal Place           O 4       □ 4
                                                                                                                                                               of Business In This State

O 2    U.S. Government                □ 4     Diversity                                                Citizen of Another Stale          □ 2       O     2   Incorporated and Principal Place          D 5       OS
          Defendant                              (Indicate Citizenship of Parties in Item III)                                                                  of Business in Another State

                                                                                                       Citizen or Subject of a           □ 3       0     3   Foreign Nation                            0 6       0 6
                                                                                                      ^^^orcign_Count2^___
IV. NATURE OF SUIT (Place an "X" ift                         Box Only)                                                                              Click here for: Nature of Suit Code Descriptions.
           CONTRACT                                                TORTS                                  FORFEITURE/PENALTY                           BANKRU PTCY                       OTHERSTATUTES
O 110 Insurtu;cc                        PERSONAL INJURY                   PERSONAL INJURY              □ 625 Drug Related Seizure             □ 422 Appeal 28 USC 158              □ 375 False Claim.s Act
□ 120 Marine                         O 310 Airplane                   O 365 Personal Injury •                  of Property 21 USC 881         O 423 Withdrawal                     □ 376 Qui Tarn (31 USC
□ 130 Miller Aa                      □ 315 Airplane Product                 Product Liability          □ 690 Other                                     28USCI57                          3729(a))
O 140 Negotiable Instrument                Liability                  □ 367 Health Care/                                                                                           0 400 State Reapportionmeiit
O 150 Recovery of Overpayment        □ 320 Assault, Libel &                   Pharmaceutical                                                     PROPERTY RIGHTS                   □ 410 /\iititmst
        & Enforcement of Judgment             Slander                         Personal Injury                                                 O 820 Copyrights                     □ 430 Banks and Banking
O 151 Medicare Act                   O 330 Federal Employers'                 Product Liability                                               O 830 Patent                         O 450 Commerce
□ 152 Recovery of Defaulted                Liability                  □ 368 Asbestos Personal                                                 □ 835 Patent • Abbreviated           O 460 Deportation
        Student Loans                O 340 Marine                             Injury Product                                                           New Drug Application        O 470 Racketeer Influenced and
        (E-xcludcs Veterans)         □ 345 Marine Product                     Liability                                                       □ 840 Trademark                              Corrupt Organiz^ons
□   153 Recovery of Overpayment               Liability                  PERSONAL PROPERTY                           LABOR                       SOCIAL SECURITY                   O 480 Consumer Credit
        of Veteran's Benefits        O 350 Motor Vehicle              □ 370 Other Fraud                □ 710 Fair Labor Standards             □ 861 HIA(l39.5ff)                   G 485 Telephone Consumer
□ 160 Stockholders' Suits            □ 355 Motor Vehicle              □ 371 Trulli in Lending                  Act                            O 862 Black Lung (923)                       Protection Act
□ 190 Other Contract                        Product Liability         □ 380 Other Personal             □ 720 Labor/Management                 a 863 DIWC/DIWW (405(g))             □ 490 Cablo'Sat TV
□   195 Contract Product Liability   □ 360 Otiia Personal                   Property Damage                   Relations                       □ 804 55)0 Title XVI                 □ 850 Securiiies/Commodities/
O 196 Franchise                             Injury                    □ 385 Property Damage            O 740 Roiiway Labor Act                O 865 RSI (405(g))                         Exchange
                                     □ 362 PCTSonal Injury -                Product Liability          O 751 Family and Medical                                                    □ 890 Other Statutory Actions
                                           Medical Malpractice                                                Leave Act                                                            □ 891 Agricultural Acts
        REAL PROPERTY                    CIVIL RIGHTS                  PRISONER PETITIONS              □ 790 Other Labor Litigation              FEDERAL TAX SUITS                 □ 893 Environmental Matters
□ 210 Land Condemnation                 440 Other Civil Riglits          Habeas Corpus:                □ 791 Employee Retirement              O 870 Taxes (U.S. Plaintiff          □ 895 Freedom of Infonnation
□ 220 Foreclosure                       441 Voting                    □ 463 Alien Detainee                    Income Security Act                      or Defendant)                       Act
□ 230 Rent Lease & Ejectment         O 442 Employment                 □ 510 Motions to Vacate                                                 □ 871 IRS—Third Party                □ 896 Arbitration
n 240 Torts (o Land                  □ 443 Housing/                           Sentence                                                                 26 USC 7609                 □ 899 Administrative Procedure
O 245 Tort Product Li^ility                 Accommodations            O 530 General                                                                                                       Act/Review or Appeal of
0 290 All Other Real Property        D 443 Amer. w/Disabilities       □ 533 Demh Penalty                       IMMIGRATION                                                                Agency Decision
                                           Employment                    Other:                        O 462 Naturalization Application                                            □ 950 Constitutionality of
                                     □ 446 Araer. w/Disabiiities      O 540 Mandamus & Otlier          □ 465 Other Immigration                                                             State Statutes
                                           Other                      O 550 Civil Rights                      Actions
                                     □ 448 Education                  □ 555 Prison Condition
                                                                      □ 560 Civil Detainee -
                                                                             Conditions of
                                                                             Confinement

V. ORIGIN (Place an "X" in One Box Only)
□ 1 Original    O 2 Removed from                          □ 3       Remanded from                 □ 4 Reinstated or       O 5 Transferred from                       Multidislrict           □ 8 Multidistricl
       Proceeding               State Court                         Appellate Court                    Reopened                   Another District                   Litigation-                   Litigation -
                                                                                                                                  (specify)                          Transfer                      Direct File
                                         Cite the U.S. Civil Statute ui^er which you wc filing (Do not diejurisdictionalstatutes unless diversity):
VI. CAUSE OF ACTION

VII. REQUESTED IN                        □ CHECK IF THIS IS A\ CLASS ACTION
                                                                                                              / ZCj. Zt Tr...//VM... a fJT.U.
                                                                                                         DEiVIAND $                                      CHE(^ YES only if dcniandetrin complaint:                 /
        COMPLAINT;                             UNDER RULE 23. F.R.Cv.F.                                                                                  JURY DEMAND:                   □ Yes          ONo
VIII. RELATED CASE(S)
         IF ANY                                   insiniclions):     JUDGE                                                                      DOCKET NUMBER
DATE                                                                     SIGNATURE OF ATTORNEY OF RECORD


FOR bFnCE USE ONLY

    RECEIPT«                    AMOUNT                                       APPLYING IFP                                      JUDGE                               MAG. JUDGE
